203 F.2d 956
    George A. THIBERG, Appellant,v.Ernest BACH (two cases).
    No. 10994.
    No. 10995.
    United States Court of Appeals Third Circuit.
    Argued April 21, 1953.
    Decided April 30, 1953.
    
      Appeal from the United States District Court for the District of New Jersey; Thomas F. Meaney, Judge.
      Mark N. Donohue, New York City (Campbell, Brumbaugh, Free &amp; Graves, Gertrude M. Egan, New York City, Schenck, Price, Smith &amp; King, Elmer S. King, Morristown, N. J., on the brief), for George A. Thiberg.
      Harry Sommers, Newark, N. J., for Ernest Bach.
      Before KALODNER, STALEY and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      The plaintiff, George A. Thiberg, instituted an action against the defendant, Ernest Bach, a former employee, in the United States District Court for the District of New Jersey, seeking an injunction and accounting of profits for alleged patent infringement and unfair competition.
    
    
      2
      The District Court held that the patent, an air pump for aquarium aerators, was invalid by reason of anticipation by the prior art and lack of invention. The plaintiff appealed in No. 10,994. The District Court further found that Bach had violated the plaintiff's processes imparted to him in confidence and ordered him to account for his profits. Defendant Bach appealed in No. 10,995.
    
    
      3
      Upon consideration of the record we are of the opinion that the District Court's disposition was in accordance with the evidence and the applicable law in No. 10,994 and No. 10,995.
    
    
      4
      The judgment of the District Court will be affirmed on the opinion of Judge Meaney, 1952, 107 F.Supp. 639.
    
    